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1N THE UNITED sTATEs DlsTRlCT CoURT F ' L E D BY
FoR THE WESTERN DISTRICT oF TENNESSEE ‘“'“*------
EASTERN DlylsloN JUL 1 l*21105

Thomas M. Gould, Clgrk

 

BOBBY R. BAKER, § WP¢_S;,E”T*§§'JUM
Plaintiff, §
l
VS. § No. 05-1132-T/An
l
WARDEN PARKER, ET Al_,., §
l
Defendants. §§
ORDER ASSESSING $250 FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND

NOTICE OF APPELLATE FILING FEE

 

Plaintiff Bobby R. Bal<er, Tennessee Department of Correction (“TDOC”) prisoner
number l 133 54, Who is currently an inmate at the Riverbend Maxirnum Security Institution
(“RMSI”) in Nashville, Tennessee, filed apro se complaint pursuant to 42 U.S.C. § 1983
on May 6, 2005 in connection With his previous confinement at the Northwest Correctional
Complex (“NWCX”) in Tiptonville, Tennessee. The Clerk shall record the defendants as
NWCX Warden Tony Parker, Lieutenant Jones, Corporal l\/lann, Corrections Off`lcers Holt,
Saxton, and Townsend, Sergeant l\/Ioore, and Case Manager Tarver.

I. Assessrnent of Filing Fee
Under the Prison Litigation Reforrn Act of 1995 (“PLRA”), 28 U.S.C. § 1915(a)-(b),

all prisoners bringing a civil action must pay the full filing fee of$250 required by 28 U.S.C.

This document entered on the dockets eat In ompllanca
with Ru|e 58 andior 79 (a) FRCP on

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§ l9l4(a).l The informer pauperis statute merely provides the prisoner the opportunity to
make a “downpayment” of a partial filing fee and pay the remainder in installments

ln this case, the plaintiff has properly completed and submitted an in forma pauperis
affidavit containing a certification by the trust fund officer and a trust fund account
statement Pursuant to 28 U.S.C. § l9l$(b)(l), it is ORDERED that the plaintiff cooperate
fully with prison officials in carrying out this order. lt is further ORDERED that the trust
fund officer at plaintiff’ s prison shall calculate a partial initial filing fee equal to twenty
percent (2()%) of the greater of the average balance in or deposits to the plaintiffs trust fund
account for the six months immediately preceding the completion of the affidavit When the
account contains any funds, the trust fund officer shall collect them and pay them directly
to the Clerk of Court. If the funds in plaintiffs account are insufficient to pay the full
amount of the initial partial filing fee, the prison official is instructed to withdraw all of the
funds in the plaintiffs account and forward them to the Clerl< of Court. On each occasion
that funds are subsequently credited to plaintiff’ s account the prison official shall
immediately withdraw those funds and forward them to the Clerk of Court, until the initial
partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee is fully paid, the trust
fund officer shall withdraw from the plaintiffs account and pay to the Clerk of this Court

monthly payments equal to twenty percent (20%) of all deposits credited to plaintiffs

 

l Effective March 7, 2005, the civil filing fee was increased from 8150 to $25().

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account during the preceding month, but only when the amount in the account exceeds
Sl0.00, until the entire $250.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the Court as required by this
order, he shall print a copy of the prisoner’s account statement showing all activity in the
account since the last payment under this order and file it with the Clerk along with the
payment All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of Tennessee, 262 U.S.
Courthouse, lll S. Highland Ave., Jackson, TN 3830l

and shall clearly identify plaintiff s name and the case number on the first page of this order.

"I`he obligation to pay this filing fee shall continue despite the immediate dismissal
of this case. 28 U.S.C. § 1915(e)(2). If plaintiff is transferred to a different prison or
released, he is ORDERED to notify the Court immediately of his change of address lf still
confined he shall provide the officials at the new prison with a copy of this order. If the
plaintiff fails to abide by these or any other requirement of this order, the Court may impose
appropriate sanctions, including a monetary fine, without any additional notice or hearing
by the Court.

The Clerl< shall mail a copy of this order to the prison official in charge of prison trust
fund accounts at plaintiff’ s prison. The Clerk is further ORDERED to forward a copy of
this order to the warden of the RMSI to ensure that the custodian of the plaintiffs inmate
trust account complies with that portion of the PLRA pertaining to the payment of filing

fees. However, the Clerk shall not issue process or serve any other papers in this case.

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ll. Analvsis of Plaintiff’s Claims

The complaint alleges that, on December 30, 2004, in response to being denied
recreation, plaintiff stuffed a pillow into the food tray flap in his cell. In response, he was
physically assaulted by defendants Mann, Saxton, Townsend, and Holt. After the plaintiff
was immobilized, defendant l ones allegedly chained him to his bed. The plaintiff alleges
he was left in that position, without medical attention and unable to use the bathroom or get
a drink of water, for approximately four hours. During that time, no prison official checked
to evaluate his condition. The complaint alleges that Warden Mills, Captain Smith, and
Corporal Burking, none of whom are parties to this action, arrived after four hours had
elapsed and Mills ordered that the restraints be removed Plaintiff requested medical
attention, but Burking allegedly told him he had to sign up for sick call. On January 2, 2005,
plaintiff was allegedly seen by a licensed practical nurse, who referred him to a Dr. Smith,
who is not a party to this action. lt is not clear whether the plaintiff saw the doctor. The
complaint alleges that, on February 1, 2005, a registered nurse ordered that x-rays be taken
of his right shoulder. Plaintiff had an appointment for x-rays on February 7, 2005, but
defendant Mann refused to let him keep the appointment He was allegedly taken to the
clinic when Mann went off duty, but the physician who takes the x-rays had left for the day.
After the x-rays had been taken, Dr. Smith allegedly recommended that an MRl be taken of
the plaintiffs shoulder. The MRI was performed on March 18, 2005, and the plaintiff had

not received the results at the time this action was commenced The plaintiff seeks monetary

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compensation and a federal investigation of the defendants

The Sixth Circuit has held that 42 U.S.C. § 1997e(a) requires a federal court to
dismiss a complaint without prejudice whenever a prisoner brings a prison conditions claim
without demonstrating that he has exhausted his administrative remedies Brown v.
Mn_b_s, 139 F.3d 1102 (6th Cir. 1998)', _s§_e Porter v. Nussle, 534 U.S. 516, 532 (2002)
(“[T]he PLRA’ s exhaustion requirement applies to all inmate suits about prison life, whether
they involve general circumstances or particular episodes, and whether they allege excessive
force or some other wrong.”); Booth v. Churner, 532 U.S. 731 (2001) (prisoner seeking only
money damages must exhaust administrative remedies although damages are unavailable
through grievance system). This requirement places an affirmative burden on prisoners of
pleading particular facts demonstrating the complete exhaustion of claims. Knuckles El v.
M, 215 F.3d 640, 642 (6th Cir. 2000). To comply with the mandates of 42 U.S.C.
§ 1997e(a):

a prisoner must plead his claims with specificity and show that they have been

exhausted by attaching a copy of the applicable administrative dispositions to

the complaint or, in the absence of written documentation, describe with

specificity the administrative proceeding and its outcome
Knuckles El, 215 F.3d at 642; see also Boyd v. Corrections Corp. ofAm., 380 F.3d 989,
985-96 (6th Cir. 2004) (describing the standard for demonstrating exhaustion when prison
officials fail to respond in a timely manner to a grievance), cert denied, 125 S. Ct. 1639

(2005)', Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who fails to allege

exhaustion adequately may not amend his complaint to avoid a sua sponte dismissal); Cur_ry

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M, 249 F.3d 493, 503-04 (6th Cir. 2001) (no abuse of discretion for district court to
dismiss for failure to exhaust when plaintiffs did not submit documents showing complete
exhaustion of their claims or otherwise demonstrate exhaustion). Furthermore, § 1997(e)
requires the prisoner to exhaust his administrative remedies before filing suit and, therefore,
he cannot exhaust these remedies during the pendency of the action. Freeman v. Francis,
196 F.3d 641, 645 (6th Cir. 1999). Finally, the Sixth Circuit recently held that district courts
are required to dismiss a complaint in its entirety, pursuant to 42 U.S.C. § 1997e(a), that
contains any unexhausted claims. Jones Bey v. lohnson, 407 F.3d 801, 805-09 (6th Cir.
2005).

Plaintiff filed a grievance (Grievance No. 20788) against defendants Mann, l-lolt,
Saxton, and Townsend on January 4, 2005 in connection with the alleged assault The
grievance also mentions defendants Jones, Moore, and Tarver, as required by Moorer v.

Price, 83 Fed. Appx. 770, 772 (6th Cir. Dec. 9, 2003) (plaintiff did not exhaust claim against

 

warden because his grievance did not identify the warden or articulate any claim against
her). See also Thomas v. Woolum, 337 F.3d 720, 733-34 (6th Cir. 2003); err_ry, 249 F.3d
at 504. 1`he matter was deemed nongrievable on January 4, 2005 because it raised a
disciplinary issue. The warden agreed with the committee’s response on January 5, 2005,
and plaintiffs appeal was denied on January 27, 2005 . lt is, therefore, arguable that plaintiff
has exhausted the administrative remedies that are available with respect to his claims

against defendants Jones, Mann, Holt, Saxton, Townsend, Moore, and Tarver concerning

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the alleged assault and the claim that he was left chained to his bed for four hours. C_f.
mata 337 F.3d at 723 (inmate complied with § 1997e(a) even though prison officials did
not consider grievance on the merits because it was untimely).

Plaintiff filed another grievance (Grievance No. 20815) on January 5, 2005 against
defendant Mann. That grievance contended that Mann violated policy by not calling the cell
extraction team, and it also alleged that plaintif`f`was denied medical care at the time of the
assault On January 10, 2005, the grievance committee found the matter to be nongrievable
because the same or a similar matter had already by raised in a grievance The warden
concurred on January 12, 2005, and plaintiffs appeal to TDOC was denied on February 1,
2005. Accordingly, plaintiff has arguably exhausted his claim against defendant Mann
arising out ofthe denial of medical attention on the date of the alleged assault

The plaintiff has not exhausted his claims concerning the denial of medical care at
any time after December 30, 2004 and, in particular, he did not exhaust his claim against
defendant Mann concerning the refusal to let him be x-rayed. Plaintiff also has not

exhausted his claim against defendant Parker.2

 

2 The additional documents submitted by the plaintiff have no bearing on whether he satisfied the

requirements of § l997e(a). The Sixth Circuit has held that internal affairs investigations are no substitute for the
filing cfa formal inmate grievance Cu_rry, 249 F.3d at 504 (“an investigation by a prison Use of Force Committee
will not substitute for exhaustion through the prison’s administrative grievance procedure”); Freeman v. Francis,
196 F.3d at 644-45 (investigation by prison Use of Force committee and state highway patrol insufficient).
Similarly, an inmate’s letters and petitions are no substitute for an inmate grievance Shephard v. Wilkinson, 27
Fed. Appx. 526, 527 (6th Cir. Dec. 5, 2001) (“While Shephard asserts that he has raised his complaints in numerous
letters to prison and public officials, a prisoner must utilize the formal grievance process provided by the state', he
cannot comply with the requirements of § l997e(a) by informally presenting his claims.”); see also Clark v. Beebe,
No. 98-1430, 1999 WL 993979, at *2 (6th Cir. Oct. 21, 1999) (clistrict court erred in holding that prisoner had
substantially complied with exhaustion requirement by writing a letter to the U.S. Attorney’s office that eventually
made its way to the warden of plaintiffs prison).

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The Sixth Circuit has stated that “[a] plaintiff who fails to allege exhaustion of
administrative remedies through ‘particularized averments’ does not state a claim on which
relief may be granted, and his complaint must be dismissed sua sponte.” M, 305 F.3d
at 489.3 Moreover, pursuant to the recent decision in J ones Bey, a district court must dismiss
any complaint that contains unexhausted claims rather than attempting to sever the
exhausted claims As a result, a case must be dismissed unless a prisoner has exhausted each
of his claims with respect to every defendant named in each claim. Foushee v. Wiggins, No.
3:05CV7108, 2005 WL 1364613, at *3 (N.D. Ohio June 8, 2005). Accordingly, the Court
DlSl\/llSSES the complaint in its entirety, without prejudice, pursuant to 42 U.S.C.
§ 1997e(a)_

lll. Appeal lssues

The next issue to be addressed is whether plaintiff should be allowed to appeal this
decision in forma pauperis Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken in forma pauperis if the trial court certifies in writing that it is not taken in good
faith. The good faith standard is an objective one. Cont)edge v. United States, 369 U.S.
438, 445 (1962). An appeal is not taken in good faith if the issue presented is frivolous l_d.

Accordingly, it would be inconsistent for a district court to determine that a complaint

 

substantially complied with exhaustion requirement by writing a letter to the U.S. Attomey’s office that eventually
made its way to the warden of plaintiffs prison).

3 As the Sixth Circuit explained, “lf the plaintiff has exhausted his administrative remedies, he may
always refile his complaint and plead exhaustion with sufficient detail to meet our heightened pleading requirement
assuming that the relevant statute of limitations has not run.” Baxter, 305 F.3d at 489.

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should be dismissed prior to service on the defendants yet has sufficient merit to support an
appeal informal pauperis See Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir.
1983). The same considerations that lead the Court to dismiss this case also compel the
conclusion that an appeal would not be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 191 5(a)(3 ), that any appeal in this
matter by plaintiff is not taken in good faith.

The final matter to be addressed is the assessment of a filing fee if plaintiff appeals
the dismissal ofthis case.4 ln McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir.
1997), the Sixth Circuit set out specific procedures for implementing the PLRA. Therefore,
the plaintiff is instructed that if he wishes to take advantage of the installment procedures
for paying the appellate filing fee, he must comply with the procedures set out in MM
and § 1915(a)-(b).

rr is so oRDERED this Z‘/ d/ay OrJuly, 2005.

Qa/)/)MZ)M

JAME§/ D. TODD
UNITED STATES DISTRICT JUDGE

 

4 Effective November 1, 2003, the fee for docketing an appeal is $250. § Judicial Conference Schedule
of Fees, il l, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917, a district court also charges a 585 fee.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case l:05-CV-01132 was distributed by fax, mail, or direct printing on
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Bobby R. Baker

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7475 Cockrill Bend Blvd.
Nashville, TN 37209--104

Honorable .l ames Todd
US DlSTRlCT COURT

